Case 4:21-cv-00033-ALM Document 1-12 Filed 01/14/21 Page 1 of 3 PageID #: 312




EXHIBIT K
        Case 4:21-cv-00033-ALM Document 1-12 Filed 01/14/21 Page 2 of 3 PageID #: 313




From: Walls, Levi <LeviWalls@my.unt.edu>
Date: Thu, Jan 9, 2020 at 12:00 PM
Subject: Re: responses to Ewell
To: Slottow, Stephen <Stephen.Slottow@unt.edu>
Cc: Graf, Benjamin <Benjamin.Graf@unt.edu>, Timothy Jackson <shermanzelechin@gmail.com>


Dear Dr. Jackson, et al.,

      Hope your break is winding up well. Would you be so kind as to send us the Ewell responses you have
gotten thus far? Of course, we understand that they may need to be workshopped a bit, so it would be best to
get an idea of what we are working with. As we discussed previously, the content of responses will be kept
confidential until such a time as they are deemed ready. It goes without saying that there are good ways and
bad ways for these responses to be framed, and it will be important for us to screen them for tone and
misinformation (lest we allow the JSS to fall into some of the same pitfalls that Ewell himself fell into).

       Regards,

                    Levi Walls

From: Walls, Levi <LeviWalls@my.unt.edu>
Sent: Wednesday, January 8, 2020 8:15 PM
To: Slottow, Stephen <Stephen.Slottow@unt.edu>
Cc: Graf, Benjamin <Benjamin.Graf@unt.edu>; Timothy Jackson <shermanzelechin@gmail.com>
Subject: Re: responses to Ewell

Hi Dr. Slottow, et al.,

       Yes, of course! I’ll be sure to share any responses to the JSS whenever we get them. As of right now, we have not
yet received any. I’ll keep you all updated, though.

        Regards,

                  Levi Walls




                                                                                              JACKSON000250
Case 4:21-cv-00033-ALM Document 1-12 Filed 01/14/21 Page 3 of 3 PageID #: 314




                                                                                JACKSON000251
